    Case 1:21-cr-00028-APM Document 956 Filed 06/26/23 Page 1 of 2




                           IN THE UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF
                                     COLUMBIA

 UNITED STATES OF AMERICA                     *

              v.                              * Case No. 23-167-TJK

TRAVIS WICKS                                  *

                                     *   *   *    *    *

                             MOTION TO WITHDRAW APPEARANCE

        Alfred Guillaume III moves this Honorable Court to allow him to withdraw

his appearance as counsel for the following reasons:

   1.      Undersigned counsel represents Mr. Wicks pursuant

           to a Criminal Justice Act appointment.

   2.      On or about June 23, 2023, Attorney Bruce A. Johnson entered his

           appearance on behalf of Mr. Wicks as privately retained counsel.

   WHEREFORE, undersigned counsel requests that he be allowed to withdraw his

appearance as counsel in this matter if the court deems his request appropriate.



                                                           Respectfully submitted,

                                                    ________________________
                                                    Alfred Guillaume III, #MD0085
                                                    Law Offices of Alfred Guillaume III
                                                    1350 Connecticut Ave. NW, Ste. 308
                                                    Washington, D.C. 20036
 Case 1:21-cr-00028-APM Document 956 Filed 06/26/23 Page 2 of 2




                     CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on this 26th day of June 2023, a copy of the
foregoing Motion was served electronically to all parties of record, including
to the Office of the United States Attorney for the District of Columbia.


                   _______________________________________________
                       Alfred Guillaume III
